Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page1of10 PagelD1

\s CLERK US DISTRICT CO
PAE IN THE UNITED STATES DISTRICT COURT 7?) 2), US"
Lr” FOR THE NORTHERN DISTRICT OF TEXAS , a
* DALLAS DIVISION QU22MAR-| PK I2: 17
UNITED STATES OF AMERICA DEPUTY CLERK Ms _
Vv. No.

aw =p ¢ %
VIAJE DEMITRI VAUGHN (1) 3-Z22CRO09 4 -X
LOUIS CHARLES WASHINGTON III (2)
INDICTMENT
The Grand Jury Charges:
Count One

False Statement During the Purchase of a Firearm; aiding and abetting
(18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2)

On or about September 16, 2020, in the Dallas Division of the Northern District of
Texas, the defendants, Viaje Vaughn and Louis Washington III, aided and abetted by
each other, in connection with the acquisition of a firearm, a Glock 9mm pistol, model
19x, serial number BPTC575, from Targetmaster, a licensed dealer of firearms within the
meaning of Chapter 44, Title 18, United States Code, knowingly made a false and
fictitious written statement to Targetmaster, which statement was intended and likely to
deceive Targetmaster, as to a fact material to the lawfulness of such sale of the said
firearm to the defendant under chapter 44 of Title 18, in that the defendant, Louis
Washington, aided and abetted by Viaje Vaughn, represented that he (Washington)
was the actual transferee and buyer when in fact he was not.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

Indictment — Page 1

* . Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page 2o0f10 PagelD 2

Count Two
False Statement During the Purchase of a Firearm; aiding and abetting
(18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2)

On or about April 19, 2021, in the Dallas Division of the Northern District of
Texas, the defendants, Viaje Vaughn and Louis Washington III, aided and abetted by
each other, in connection with the acquisition of a firearm, a Glock 9mm pistol, model
19x, serial number BPEF066, from The Gun Zone, a licensed dealer of firearms within
the meaning of Chapter 44, Title 18, United States Code, knowingly made a false and
fictitious written statement to The Gun Zone, which statement was intended and likely to
deceive The Gun Zone, as to a fact material to the lawfulness of such sale of the said
firearm to the defendant under chapter 44 of Title 18, in that the defendant, Louis
Washington, aided and abetted by Viaje Vaughn, represented that he (Washington)

was the actual transferee and buyer when in fact he was not.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

Indictment — Page 2

Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page 3of10 PagelD3

Count Three
False Statement During the Purchase of a Firearm; aiding and abetting
(18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2)

On or about August 12, 2021, in the Dallas Division of the Northern District of
Texas, the defendants, Viaje Vaughn and Louis Washington III, aided and abetted by
each other, in connection with the acquisition of a firearm, a Glock 10mm pistol, model
29Gen4, serial number BTST204, from The Gun Zone, a ficensed dealer of firearms
within the meaning of Chapter 44, Title 18, United States Code, knowingly made a false
and fictitious written statement to The Gun Zone, which statement was intended and
likely to deceive The Gun Zone, as to a fact material to the lawfulness of such sale of the
said firearm to the defendant under chapter 44 of Title 18, in that the defendant, Louis
Washington, aided and abetted by Viaje Vaughn, represented that he (Washington)

was the actual transferee and buyer when in fact he was not.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

Indictment — Page 3

Case 3:22-cr-00094-X Documenti1 Filed 03/01/22 Page4of10 PagelD4

Count Four
False Statement During the Purchase of a Firearm; aiding and abetting
(18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2)

On or about August 20, 2021, in the Dallas Division of the Northern District of
Texas, the defendants, Viaje Vaughn and Louis Washington III, aided and abetted by
each other, in connection with the acquisition of a firearm, a Glock 9mm pistol, model
19x, serial number BUCD095, from Targetmaster, a licensed dealer of firearms within
the meaning of Chapter 44, Title 18, United States Code, knowingly made a false and
fictitious written statement to Targetmaster, which statement was intended and likely to
deceive Targetmaster, as to a fact material to the lawfulness of such sale of the said
firearm to the defendant under chapter 44 of Title 18, in that the defendant, Louis
Washington, aided and abetted by Viaje Vaughn, represented that he (Washington)

was the actual transferee and buyer when in fact he was not.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

Indictment — Page 4
Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page5of10 PagelD5

Count Five
False Statement During the Purchase of a Firearm; aiding and abetting
(18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2)
On or about October 2, 2021, in the Dallas Division of the Northern District of
Texas, the defendants, Viaje Vaughn and Louis Washington III, aided and abetted by
each other, in connection with the acquisition of a firearm, a Glock .40cal pistol, model
27Gen3, serial number ABPF898, from The Gun Zone, a licensed dealer of firearms
within the meaning of Chapter 44, Title 18, United States Code, knowingly made a false
and fictitious written statement to The Gun Zone, which statement was intended and
likely to deceive The Gun Zone, as to a fact material to the lawfulness of such sale of the
said firearm to the defendant under chapter 44 of Title 18, in that the defendant, Louis
Washington, aided and abetted by Viaje Vaughn, represented that he (Washington)

was the actual transferee and buyer when in fact he was not.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

Indictment — Page 5
Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page 6of10 PagelD 6

Count Six
False Statement During the Purchase of a Firearm; aiding and abetting
(18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2)

On or about October 2, 2021, in the Dallas Division of the Northern District of
Texas, the defendants, Viaje Vaughn and Louis Washington III, aided and abetted by
each other, in connection with the acquisition of a firearm, a Glock 9mm pistol, model
26Gen3, serial number AGB5666, from The Gun Zone, a licensed dealer of firearms
within the meaning of Chapter 44, Title 18, United States Code, knowingly made a false
and fictitious written statement to The Gun Zone, which statement was intended and
likely to deceive The Gun Zone, as to a fact material to the lawfulness of such sale of the
said firearm to the defendant under chapter 44 of Title 18, in that the defendant, Louis
Washington, aided and abetted by Viaje Vaughn, represented that he (Washington)

was the actual transferee and buyer when in fact he was not.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

Indictment — Page 6

Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page 7of10 PagelD 7

Count Seven
False Statement During the Purchase of a Firearm; aiding and abetting
(18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2)

On or about October 3, 2021, in the Dallas Division of the Northern District of
Texas, the defendants, Viaje Vaughn and Louis Washington III, aided and abetted by
each other, in connection with the acquisition of a firearm, a Glock .45cal pistol, model
36, serial number BT Y X683, from The Gun Zone, a licensed dealer of firearms within
the meaning of Chapter 44, Title 18, United States Code, knowingly made a false and
fictitious written statement to The Gun Zone, which statement was intended and likely to
deceive The Gun Zone, as to a fact material to the lawfulness of such sale of the said
firearm to the defendant under chapter 44 of Title 18, in that the defendant, Louis
Washington, aided and abetted by Viaje Vaughn, represented that he (Washington)

was the actual transferee and buyer when in fact he was not.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

Indictment — Page 7
Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page 8of10 PagelD 8

Count Eight
False Statement During the Purchase of a Firearm; aiding and abetting

(18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2)

On or about October 3, 2021, in the Dallas Division of the Northern District of
Texas, the defendants, Viaje Vaughn and Louis Washington III, aided and abetted by
each other, in connection with the acquisition of a firearm, a Glock .357 caliber pistol,
model 32, serial number BPFA923, from The Gun Zone, a licensed dealer of firearms
within the meaning of Chapter 44, Title 18, United States Code, knowingly made a false
and fictitious written statement to The Gun Zone, which statement was intended and
likely to deceive The Gun Zone, as to a fact material to the lawfulness of such sale of the
said firearm to the defendant under chapter 44 of Title 18, in that the defendant, Louis
Washington, aided and abetted by Viaje Vaughn, represented that he (Washington)
was the actual transferee and buyer when in fact he was not.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

Indictment — Page 8
Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page9of10 PagelD9

Forfeiture Notice

(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction of any of the offenses alleged in this indictment, and under 18

U.S.C. § 924(d) and 28 U.S.C. § 2461(c), defendants, Viaje Vaughn and Louis

Washington III, shall forfeit to the United States of America all firearms and

ammunition involved in or used in the knowing commission of the offenses.

A TRUE BILL:

FOREPERS

CHAD E. MEACHAM
UNITED STATES ATTORNEY

Sot

Suzan} a O. Etessam

Swale United States Attorney
Texas State Bar No. 17572420

1100 Commerce Street, Third Floor
Dallas, Texas 75242

Telephone: 214.659.8600

Facsimile: 214.659.8803

Email: Suzanna.Etessam@usdoj.gov

Indictment — Page 9

Wnty
Case 3:22-cr-00094-X Document1 Filed 03/01/22 Page10o0f10 PagelD 10

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE UNITED STATES OF AMERICA

VIAJE DEMITRI VAUGHN (1)
LOUIS CHARLES WASHINGTON, III (2)

INDICTMENT

18 U.S.C. §§ 922(a)(6), 924(a)(2) and 2
False Statement During the Purchase of a Firearm;
Aiding and Abetting
(Counts | -8)

18 U.S.C. § 924(d) and 28 U.S.C. § 246(c)
Forfeiture Notice

8 Counts
Piss Ll,
A true bill rendered \/ VW A XW MW nN
DALLAS [ saturn

r
Filed in open court this / day of March, 2022.

Warrant to be Issued for both defendants: Viaje Demitri Vaughn (1) and also for:
Louis Charles Washington, III (2)

UNITED STATES MAG JUDGE
No Criminal Matter Pendin

